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                                                               United States Bankruptcy Court
                                                                     Middle District of Florida
 In re      MJD Legacy Imvestments, Inc                                                                 Case No.
                                                                                 Debtor(s)              Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for MJD Legacy Imvestments, Inc in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 March 17, 2021                                                      /s/ J. Andrew Braithwaite
 Date                                                                J. Andrew Braithwaite 68291
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for MJD Legacy Imvestments, Inc
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